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     III. Accounts Payable continued
                                                          Kind           Date            Amount
                  Name and Address of unpaid creditors    of debt        incurred        unpaid




    IV. Date that Matrix of Unpaid Creditors during the Chapter 11 case was filed 7/27/2023
    Not later than 14 days after conversion of the case, a schedule of unpaid debts is to be filed. This
    schedule should be an appropriate matrix for mailing purposes containing the names and address
    of all unpaid entities since the commencement of the Chapter 11 case.

    V. Original Chapter 11 Assets

    Itemize below the assets of the debtor other than cash or accounts receivable on the date the
    petition was filed that were disposed of during the chapter 11 case or that were retained but had a
    reduced or increased value on the date of conversion to the chapter 7 case:

                           Value scheduled                                      If retained,
    Description            in Schedules          If disposed of,                value on date
    of asset               A and B               explain disposition            of conversion

    Warrants               Unknown               NIA                            Unknown

    Kingscrowd Shares      Unknown               NIA                            Unknown



    VI. New Chapter 11 Assets
    Itemize below the assets of the debtor other than cash or accounts receivable that were acquired
    by the debtor during the chapter 11 case and that were disposed of during chapter 11 case or that
    were retained as assets on the date of conversion to a chapter 7 case. (Note: For individual
    debtors, this must include post-petition earnings. See 11 U.S.C. § l l 15(a)(2)).

    Description            Price paid            If disposed of,                If retained, value on
    of asset               for asset             explain disposition            date of conversion
    March Warrants         Unknown               NIA                            Unknown

   April Warrants          Unknown               NIA                            Unknown




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